                Case 5:14-cv-05687-JFL Document 26 Filed 07/15/15 Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 HERITAGE-CRYSTAL CLEAN, LLC,                           )
                                                        )
                   Plaintiff,                           )         Case No. 14 cv 05687

                   v.
                                                        )
                                                        )                                          FILED
                                                        )
 ESSROC CEMENT CORPORATION,                             )                                          JUL 15 2015
                                                        )
                   Defendant.                                                                MtCHAIOl.0. KUNZ, Clerk
                                                                                             By •    b/11/ De9. Clerk
                                                 ORDER

            The parties hereto have stipulated and agreed that this matter be dismissed \\ithout

 prejudice and without costs pursuant to Fed. R. Civ. P. 41(a)(l)(A)(ii).

            IT IS SO ORDERED.



                                                 Date:




2il36771 lv.l
